                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA

TRACTOR AND EQUIPMENT CO.           *                               CIVIL ACTION
                                    *
                                    *                               NO. 15-5413
                                    *
V.                                  *                               SECTION “R”
                                    *
DUAL TRUCKING AND TRANSPORT, L.L.C. *                               JUDGE VANCE
AND ANTHONY ALFORD                  *
                                    *                               MAG. NORTH


PLAINTIFF’S OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS FOR LACK
OF SUBJECT MATTER JURSIDICTION UNDER RULE 12(b)(1), AND FOR FAILURE
                TO STATE A CLAIM UNDER RULE 12(b)(6)

           NOW INTO COURT, comes Plaintiff Tractor and Equipment Co. who respectfully

submits this memorandum in opposition to the Defendants’ Motion to Dismiss for Lack of

Subject Matter Jurisdiction under Rule 12(b)(1), and for failure to state a claim under Rule

12(b)(6). For the following reasons, Defendants Motion should be denied and plaintiff’s

Complaint for Declaratory Relief seeking the validity of the surety agreement executed by

Anthony Alford should be allowed to proceed.


                                        FACTUAL BACKGROUND


           On March 19, 2012, defendant Dual Trucking and Transport, LLC (“Dual Trucking”)

submitted an Application for Commercial Credit to plaintiff Tractor & Equipment Co

(“Tractor”).1 The Application for Commercial Credit was sent via facsimile from Dual

Trucking’s office in Houma, Louisiana to Tractor. Upon review of the application, Tractor did

not approve the Application for Commercial Credit as the Personal Guarantee portion was not



1
    Exhibit A, Application for Commercial Credit

                                                   1
signed.2 Tractor requested an owner or officer of the company sign the attached Personal

Guarantee portion of Application for Commercial Credit as indicated, and fax return a signed

copy3. Defendant, Anthony Alford (“Alford”), an owner of Dual Trucking, executed the Personal

Guarantee portion of the Application for Commercial Credit, which was then submitted to

Tractor for credit application approval.4


        Based on the executed Personal Guarantee by Dual Trucking’s owner, Anthony Alford,

Tractor approved Dual Trucking’s Application for Commercial Credit. From March 2012

through October 2013, Dual Trucking incurred $292,846.30 in charges on its commercial credit

account with Tractor for equipment rentals, related to oilfield services of Dual Trucking.5 The

debt remains outstanding and owed despite amicable demand upon both Dual Trucking and the

surety Alford.6


                                     PROCEDURAL HISTORY


        Tractor initially filed suit on open account against Dual Trucking and Alford in the

captioned matter Tractor & Equipment Co. vs. Dual Trucking and Transport, LLC, case number

DV 13-1526 in the Thirteenth Judicial District Court, Yellowstone County, State of Montana.

Alford was dismissed as a party to the Montana suit as the Montana court lacked personal

jurisdiction over Alford.7 The only remaining parties to the Montana suit are Tractor, as plaintiff,

and Dual Trucking, as defendant.




2
  Exhibit B, 3/20/12 Letter
3
  Exhibit B, 3/20/12 Letter
4
  Exhibit C, Personal Guarantee
5
  Exhibit E, Invoice
6
  Exhibit F, Demand Letter
7
  Exhibit D, Montana Order, Page 2

                                                 2
       Tractor has now come to Louisiana and filed this instant action seeking a declaratory

relief and judgment in favor of Plaintiff and against Defendants declaring that the surety

agreement executed by defendant Anthony Alford for the benefit of defendant Dual Trucking

and Transport, LLC and in connection with a credit agreement between Dual Trucking and

Plaintiff is a valid and enforceable surety.


                                     LAW AND ARGUMENT

                          12(b)(1) Lack of Subject Matter Jurisdiction

       When a motion to dismiss for lack of subject matter jurisdiction is raised, a court may

rely on (1) the complaint alone, presuming the allegations to be true, (2) the complaint

supplements by undisputed facts, or (3) the complaint supplemented by undisputed facts and by

the court’s resolution of disputed facts. Qureshi v. Holder, 2010 WL 5141877, *3, citing Den

Norske Stats Oljeselskap As v. Heeremac Vof, 241 F. 3d 420, 424 (5th Cir. 2001).

       Plaintiff bears the burden of proving subject matter jurisdiction in the present suit. “When

a rule 12(b)(1) motion is filed in conjunction with Rule 12 motions, the court should consider the

Rule 12(b)(1) jurisdictional attack before addressing any attack on the merits.” Ramming v.

United States, 251 F. 3d 158, 162 (5th Cir. 2001).

       When a defendant is seeking to dismiss a complaint for declaratory relief, a court must

consider a three step inquiry. National Cas. Co. v. Tom’s Welding, Inc., 2012 WL 2064451, *3

(E.D. La. June 7, 2012). The first step requires determining the justiciability of the declaratory

action. Id. If the first step of jurisdiction is met, then the second step of the court determining

whether has the authority to grant the declaratory relief. Lastly, the court has to determine how to

exercise its broad discretion to decide or dismiss a declaratory action. Id.




                                                   3
     A. Justiciability and Authority to Grant Declaratory Relief

         A federal court will not have subject matter jurisdiction unless there exists an actual

controversy. Id. “As a general rule, an actual controversy exists where a substantial controversy

of sufficient immediacy and reality exists between parties having adverse legal interests.” Id.

(quoting Orix Credit Alliance, Inc. v. Wolfe, 212 F.3d 891, 896. (5th Cir. 2000). In this instant

matter, both the requirements of diversity and amount in controversy are satisfied.

         This instant action was brought under 28 U.S.C. § 1332 diversity jurisdiction. Defendant

Anthony Alford is a domiciliary of Louisiana, residing in Terrebonne Parish. While the

defendant Dual Trucking is a Louisiana Limited liability company with its registered office in

Houma, Terrebonne Parish, Louisiana. Finally, Tractor is a Montana Corporation with no

business presence in Louisiana. The amount in controversy on the underlying obligation is

$292,846.30 owed on open account.8 This clearly satisfies the $75,000.00 amount in controversy

requirement.

         The Montana action originally sought to have Alford as a defendant, but the Montana

court dismissed the Alford for a lack of personal jurisdiction.9 The Montana court set forth

several reasons why Anthony Alford was not subject to the personal jurisdiction of the Montana

state court, including:

             1. Alford is a nonresident of Montana
             2. Alford’s presence in Montana was in official capacity as representative of Dual
                Trucking
             3. Alford signed the personal guaranty outside Montana
             4. The personal guarantee contained no jurisdictional language
             5. Personal guaranty was delivered to Tractor & Equipment’s agent in North Dakota
             6. The personal guaranty was then faxed from North Dakota to Montana10



8
  Exhibit E, Invoices
9
  Exhibit D, Page 2
10
   Exhibit D, Page 9

                                                   4
            The Montana Court made no determination regarding the validity and enforceability of

the surety agreement executed by Alford. Finally, the Montana court concluded, “Given

Alford’s Louisiana residency and more, the proper place for any action against Alford is in

Louisiana.”11 (emphasis ours)

       B. Discretion to Dismiss or to Decide Declaratory Action

           The final consideration is the court’s broad discretion in whether to decide or dismiss the

declaratory relief sought. This final consideration invokes the abstention doctrine.

           Abstention may be proper when a state court proceeding when the state court proceedings

are parallel, which means the same parties and same issues are before both courts. Bank of New

York Mellon Trust Company v. Wagner World, LLC, 2013 WL 5410301, *2 (E.D. La Sept. 25,

2013). Abstention is only applied to cases in exceptional circumstances. Id *2.

           It is important to note this present suit is not parallel to the Montana state court

proceeding as the same parties are not present in both actions, namely defendant Alford being a

party to this instant action, but not a party to the Montana action, a result of his dismissal from

the Montana suit for lack of personal jurisdiction.12 Thus, the Montana state court does not have

the ability to decide all matters between all parties, as Alford is not party to the Montana action.

           While defendants have asserted that the Colorado River abstention factors apply, Tractor

submits the Brillhart abstention factors are the appropriate abstention factors, which apply when

the federal court is asked to exercise its discretion to entertain a declaratory action. Id at *1.

Brillhart abstention factors apply when the relief sought is purely declaratory relief. The United

States Supreme Court held in Wilton v. Seven Falls Co., 515 U.S. 277, 115 S.C.t. 2137 (1995)




11
     Exhibit D, Page 10
12
     Exhibit D, Page 10

                                                      5
that the less demanding Brillhart standard rather than Colorado River should apply when

declaratory relief is sought.



           In analyzing the Brillhart abstention doctrine, the Fifth Circuit has enumerated the follow

lists of the Trejo factors in determining whether to decide or dismiss an action for declaratory

relief:

                    a) whether there is a pending states action in which all of the
                    matters may be fully litigated,
                    b) whether the plaintiff filed suit in anticipation of a lawsuit filed
                    by defendant,
                    c) whether the plaintiff engaged in forum shopping bringing the
                    suit,
                    d) whether possible inequities in allowing the declaratory plaintiff
                    to gain precedence in time or to change forums exist;
                    e) whether the federal court is a convenient forum for the parties
                    and witnesses;
                    f) whether retaining the lawsuit would serve the purpose of judicial
                    economy; and
                    g) whether the federal court is being called upon to construe a state
                    judicial decree involving the same parties and entered by the court
                    before whom the parallel state suit between the same parties is
                    pending. National Cas. Co. v. Tom’s Welding, Inc., 2012 WL
                    2064451, *5 (E.D. La. June 7, 2012).


       1. Identical and Pending State Court Actions

           Considering the first and seventh factors together, there is not a parallel proceeding in a

state court with all the same parties. As stated previously the Montana action is only between the

Tractor and Dual Trucking, as Alford did not have sufficient contacts with Montana to subject

him to its personal jurisdiction.13 The lack of personal jurisdiction over Alford in Montana means

that the matters in dispute cannot be fully litigated in the Montana court. Thus the Montana state

court is without ability to determine the validity of the Personal Guarantee executed by Alford.


13
     Exhibit D., Page 10.

                                                      6
            Likewise, this Court is not being called upon to construe a state judicial decree involving

the same parties and entered by the court before whom the parallel state suit between the same

parties is pending.14 Tractor is seeking no declaratory relief which would require this Court to

construe any Order or Judgment from the Montana state court. Tractor has respected the

Montana state court decision regarding the lack of personal jurisdiction over Alford. If and when

a Montana judgment on open account is attained in favor of Tractor and against Dual Trucking,

then Tractor will assert its collection rights against Dual Trucking and Alford in Louisiana.

Tractor has come to Louisiana, the domicile of Alford and place of Personal Guarantee

execution, in order to pursue its non-parallel suit against the defendants.

       2. Plaintiff Filing In Anticipation of Lawsuit by Defendant.

           The second factor can be disposed of as the prior Montana state court action clearly

shows the plaintiff did not file suit in anticipation of suit by defendant. Plaintiff has been in

pursuit defendants since the original Montana action was filed in June 2014.15 In the pending

Montana action, defendant, Dual Trucking, has asserted no counterclaims against Tractor.

       3. Forum Shopping on Part of Plaintiff

           Considering the third factor of forum shopping, Tractor has clearly not engaged in forum

shopping in order to assert its claim. When the Montana action dismissed Alford for lack of

personal jurisdiction, Tractor instituted this herein proceeding in the United States District Court

for Eastern District of Louisiana. The Montana court directed Tractor that Louisiana would be

the appropriate forum to pursue claims against Alford.16 This is the appropriate federal forum

given Alford resides Terrebonne Parish within the Eastern District of Louisiana.


14
     See, National Union Fire Insurance Company v Trotter et al, 2013 WL 2369800, *4 ( E.D. LA May 29,
2013).
15
     Exhibit D, Page 2.
16
     Exhibit D, page 10

                                                      7
       4. Inequities to Gain Precedence in Time or Change of Time

            The fourth factor likewise weighs in favor of Tractor. Tractor is not seeking to gain any

precedence or change the forum. Plaintiff is pursuing its claims on open account for a judgment

in the Montana State court. When Tractor obtains a monetary judgment against Dual Trucking in

the Montana state court, the plaintiff will then proceed to Louisiana and seek enforcement of the

judgment in Louisiana, with Alford acting as the surety for Dual Trucking.

       5. Federal Forum Convenience to Parties

            Regarding the fifth factor of convenient forum to parties, the forum is most inconvenient

to Tractor, which is a Montana corporation with no business presence in Louisiana. Yet despite

this inconvenience, plaintiff has elected to pursue a declaratory judgment in this proper forum of

the defendants’ domicile.

            Dual Trucking’s principal place of business and Alford’s domicile both in Terrebonne

Parish which is within the Eastern District of Louisiana. Dual Trucking, being a Louisiana

limited liability company with its principal places of business in Terrebonne Parish, is a properly

sued defendant found within this Court’s jurisdiction.17 Anthony Alford likewise maintains his

domicile in Terrebonne Parish, and this is subject to the personal jurisdiction of this Court.

       6. Judicial Economy

            Finally, the lawsuit would serve the purpose of judicial economy under the sixth factor,

as declaring the surety valid and enforceable between the parties shall aid in the efficient

disposition of this matter upon the judgment in the Montana state court action.



17
     Exhibit __. Secretary of State info.

                                                     8
            Should the Court find that plaintiff is also seeking coercive relief then the Colorado

River abstention factors apply. U.S. Fire Ins. Co. v. Housing Authority of New Orleans, 917 F.

Supp. 2d 581, 588 (2013).

           Coercive relief is defined as judicial relief, either legal or equitable, in the form of a

personal command to the defendant that is enforceable by physical restraint. While Declaratory

relief is defined as a unilateral request to the court to determine the legal status or ownership of a

thing.

           It is clear from the Complaint filed by plaintiff in this matter the only relief being sought

is for declaratory relief that the surety executed by Alford is valid and enforceable. Plaintiff has

not sought any additional relief aside from a declaration that the surety is valid and enforceable

under either Montana law or Louisiana law.18 The prayer for relief likewise only prays “this

Court award declaratory relief and enter a judgement in favor of plaintiffs… declaring…Anthony

Alford is a valid surety to the obligations owed by Dual Trucking and Transportation on open

account to Plaintiff.”19

           However, should this Court find the plaintiff has sought coercive relief in addition to the

declaratory relief applies, then Colorado River factors of abstention would apply. Before

considering the various abstention factors, the court should make an initial inquiry into whether

the Montana state court action and this instant action are parallel. The term “parallel cases” has

been applied to mean the same parties and same issues in separate suits. U.S. Fire Ins. Co. v.

Housing Authority of New Orleans, 917 F. Supp. 2d 581, 589 (E.D. La. January17, 2013).

           If the same parties and same issues are not before both courts, then abstention should not

apply. Id. The Montana state court action is a suit on open account with the only parties being


18
     R. DOC. 1, P. 5
19
     Id.

                                                      9
plaintiff Tractor and defendant Dual Trucking. While this instant action concerns the validity and

enforceability of the Personal Guarantee underlying the open account obligation, and includes an

additional party Alford as a defendant. It is clear these two actions are not parallel in order to

warrant abstention under Colorado River doctrine.

       Should the two actions be found to be parallel, there are six factors under Colorado River

which must be applied to determine if exceptional circumstances warrants abstention:


       1.   Assumption by either court of jurisdiction over a res
       2.   Relative inconvenience of forums
       3.   Avoidance of piecemeal litigation
       4.   The order in which jurisdiction was obtained by the concurrent forums,
       5.   To what extent federal law provides the rules of decision on the merits,
       6.   The adequacy of state proceedings in protecting the rights of the party
            invoking federal jurisdiction. See U.S. Fire Ins. Co., 917 F. Supp. 2d at 589.


       These factors are balanced heavily in favor of the exercise of jurisdiction. Id. This court

nor the Montana Court has not assumed jurisdiction over a res in this matter, and the defendants

do not assert so.

       1. Relative Inconvenience of Forums

       The Montana court has established proper jurisdiction over Dual Trucking and is a

convenient forum for Tractor to pursue its action on open account against Dual Trucking. The

United States District Court for the Eastern District of Louisiana encompasses Terrebonne Parish

where Alford is domiciled and Dual Trucking maintains its principal place of business. The

forum is most convenient for the defendants, and is the proper jurisdiction and venue to pursue

claims against Alford, as does not have sufficient connections to Montana to subject himself to

personal jurisdiction.




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       2. Avoidance of Piecemeal Litigation

       Given the absence of personal jurisdiction over Alford in Montana, there is no option but

for Tractor to pursue Alford in Louisiana separately from the Montana action on open account.

However, it is important to point out that the separate suits can be fully litigated in separate

actions. The suit on open account and the action against surety, Alford, are separate and distinct

actions, and does not subject either defendant to incurring multiple inconsistent obligations. Thus

this factor weighs against abstention.

       3. Order in Which Jurisdiction Was Obtained

       The Montana action was instituted in 2014, with both Alford and Dual Trucking named

as defendants. Alford was dismissed for lack of personal jurisdiction on May 20, 2015. On

October 23, 2015, Tractor instituted this instant action against Dual Trucking and Alford in the

United States District Court for Eastern District of Louisiana. The Montana action is currently

pending summary judgment against the sole defendant Dual Trucking. Given the procedural

history, this factor weighs against abstention.

       4. To What Extent Federal Law Provides the Rules of Decisions on the Merits

       While the presence of state law issues are present in this matter regarding the validity of

the Personal Guarantee execute by Alford, the presence of state law issues alone is not

dispositive to pursuing the claim under diversity jurisdiction. Only in rare circumstances are the

presence of state law issues so great that abstention must be favored. See U.S. Fire Ins. Co. 917

F. Supp. 2d at 591. Defendants have identified no such rare circumstance which would favor

abstention. As such, this factor is neutral.




                                                  11
       5. Adequacy of State Proceedings

       This factor can only be considered neutral or against abstention, and not in favor of

abstention. Id. This factor weighs heavily against abstention in this matter, as the Montana court

is without the ability to decide all issues before the parties, as the Montana court dismissed

Alford for lack of jurisdiction.

       As the same issues and same parties are not present in both the Montana action and this

action, abstention should not apply in this action. Further, considering the various factors under

both Brillhart and Colorado River, abstention is again disfavored, and Tractor should be

permitted to pursue its action for declaratory judgment against the defendants.

                    12(b)(6) Motion to Dismiss for Failure to State a Claim

       Rules 12(b)(6) of the Federal Rules of Civil Procedure permits a motion to dismiss a

complaint for failure to state a claim upon which relief can be granted. To survive a 12(b)(6)

motion to dismiss, the plaintiff must plead enough facts to state a claim for relief that is plausible

on its face. In re Katrina Canal Breaches Litig., 495 F. 3d 191, 205 (5th Cir. 2007).

       A claim is plausible on its face when the plaintiffs plead facts from which the court can

“draw reasonable inference that the defendant is liable for the misconduct alleged.”Ashcroft v.

Iqbal, 129 S. Ct. 1937, 1949 (2009). In considering a motion to dismiss for failure to state a

claim, a district court may consider only the contents of the pleading and attachments thereto.”

Collins v. Morgan Stanley Dean Witter, 224 F. 3d 496, 498 (5th Cir. 2000).

       Defendants challenge the validity of the Personal Guarantee on several grounds, which

are speculative at best. Defendants assert the practically blank standard form executed by Alford

does not constitute a valid suretyship agreement.




                                                 12
        Requirements For Suretyship

        Under La. C.C. Art. 3038, the only formal requirements for suretyship are that a

suretyship agreement must be express and in writing. Aside from the requirements of La. C.C.

art. 3038, there are no technical forms or requirements to form a valid suretyship agreement.

While the Personal Guarantee executed by Alford may not be explicitly identified as a suretyship

agreement, La. R.S. 10: § 1-201 (39) defines a surety to include “a guarantor or other secondary

obligor.” The Louisiana Supreme Court has held that:

                Contracts of guaranty or suretyship are subject to the same rules of
        interpretation as contracts in general. Agreements legally entered into have the
        effect of laws on those who formed them and must be performed in good faith.
        Courts are bound to give legal effect to all such contracts according to the true
        intent of the parties, and this intent is to be determined by the words of the
        contract when these are clear and explicit and lead to no absurd consequences.
        Regions Bank v. Tauch, 2011WL 2020268, *5-*6 (E. D. La May 24, 2011).

        Under Louisiana law, there are no “magic words” required to perfect the suretyship

agreement. There is no particular form, language, or expression required to create a suretyship

agreement, and any language “under the circumstances attending the transaction, may be

construed as binding the guarantor to answer for another’s debt or default is sufficient.”

Reconstruction Finance Corp. v. Mickelberry, 189 La. 105, 109 (La 1/10/1938). Under the plain

language of La C.C. art 3035, a surety “binds himself to a creditor to fulfill the obligation of

another upon the failure of the latter to do so.” Under La. C.C. art. 3036, a surety may bind

himself to any lawful obligation, and the bound principal obligation may be presently existing or

arise in the future.

        By executing the Personal Guarantee, Alford, a sophisticated businessman and insurance

executive, agreed to become a surety for Dual Trucking’s debts.20 The language of the form


20
  Exhibit G, Page 2, Affidavit of Anthony Alford, wherein Alford admits the signature on the Personal Guarantee
appears to be his own signature.

                                                       13
Personal Guarantee contained within the Application for Commercial Credit, attached to the

Petition (DOC ID) and executed by Alford is clear and unambiguous:

                   The undersigned…in consideration of your giving credit to the aforesaid
           applicant, jointly and severally guarantee(s) and agree(s) to pay TRACTOR &
           EQUIPMENT CO, N.C. MACHINERY CO., MACHINERY POWER &
           EQUIPMENT CO., N C POWER SYSTEMS CO. OR ANY OF THEIR
           RELATED OF AFFILIATE COMPANIES all monies which shall become due
           you from “DUAL TRUCKING AND TRANSPORT, LLC” by reason of any
           credit you extended as credit you extend as herein requested, including late
           payment charges and all costs of collection and reasonable attorney’s fees for the
           recovery of the debt if it is due whether it is incurred by the debtor or guarantor or
           both. I (We) hereby waive any obligation upon you to make demand on the debtor
           and waive notice to make demand of the debtor and waive notice of default to me
           (us) and consent to any extensions and renewals of the debtor’s obligation hereof
           without notice. I (We) authorize TRACTOR & EQUIPMENT CO., N.C.
           MACHINERY POWER & EQUIPMENT CO., N C POWER SYSTEMS CO.,
           OR ANY OF THE RELATED OR AFFILIATE COMPANIES to release, as its
           sole option, and from time to time, any and all collateral given it by the debtor
           without affecting the guarantee21


           Below this clear and unambiguous language of the Personal Guarantee, Alford executed

the agreement in his personal capacity. By signing the Personal Guarantee, Alford also waived

notice of default of Dual Trucking, and agreed to pay reasonable attorney’s fees.

           As there is an Application for Commercial Credit and a separate Personal guarantee, both

contracts should be construed together. Had the Personal Guarantee been executed when the

Application for Commercial Credit been submitted the Court would be construing two

agreements on one single page. The Louisiana Supreme Court has held that “two agreements, of

contemporaneous date, one signed by the credit and debtor, and the other by debtor and surety,

each making reference to each other, must be construed together; and thus construed, what is

doubtful in one may be made clear by what is found in the other.” Isador Bush Wine & Liquor

Co. v Wolff, 48 La. Ann. 918, 19 SO. 765 (La. Feb. 10, 1896). This is precisely the situation


21
     Exhibit C

                                                    14
before this Court. The separate Application for Commercial Credit and the Personal Guarantee

when construed together are a clear representation of the agreements between parties.

           The case, Chretien v. Bienvenir, relied upon by defendants to question the validity of the

Personal Guarantee is distinguishable from the facts before this Court. The Chretien case, dating

from 1889, concerns the filing of an incomplete and not required bond document into a

succession proceeding. Bond amounts were later improperly supplied by creditors and the court

without the consent or knowledge of signatories. Signatories subsequently challenged the

validity of the later completed bond and had it declared invalid and annulled a judgment

declaring the bond valid.

           The credit application and personal guaranty between Tractor and Dual Trucking and

Alford is a straight forward arm’s length commercial transaction, conducted daily by these

parties’ course and scope of business operations. On March 19, 2012, Dual Trucking, desiring to

rent equipment in Montana and North Dakota, had a representative partially complete the

“Application for Commercial Credit” leaving the Personal Guarantee unsigned.

           One March 20, 2012, Dual Trucking, having left blank the Personal Guarantee portion of

the Application for Commercial Credit, was instructed by Tractor credit specialist, to have the

owner or officer of the company sign the attached Application and return for processing. 22

           With this instruction from Tractor, Alford, an owner of Dual Trucking, executed the

Personal Guarantee section, which was then returned to Tractor. Having already received a

partially completed Application for Commercial Credit, the executed Personal Guarantee was the

only relevant portion of the application requiring the signature of Alford.

           The Personal Guarantee signed by Alford identifies both the debtor, Dual Trucking &

Transport, LLC, and identifies the creditor as Tractor & Equipment Co.23 The language of the
22
     Exhibit B

                                                   15
Personal Guarantee is clear and unambiguous promise to pay the debts of Dual Trucking and

Transport.

           In response to the purported deficiencies of the Personal Guarantee cited by defendant,

plaintiff submits each deficiency cited by defendants is without merit.

           Had Alford read the Personal Guarantee before executing and agreeing to its terms, he

would have clearly and simply been able to determine the particular obligation identified in the

Personal Guarantee is “monies which shall become due you from Dual Trucking and Transport,

LLC by reason of any credit you extended as credit you extend as herein requested…”24

           As to “no particular obligation” being identified contention, even a cursory review of the

“Application for Commercial Credit” reveals the particular obligation secured is Dual Trucking’s

line of credit.

           The Louisiana Civil Code articles regarding suretyship do not require any date or time

specification to be included with the application, yet reviewing the application signed by Alford

in conjunction with the original Application and letter from Tractor & Equipment reveal the

Alford Application was signed on or about March 21, 2012.

           Further, Dual Trucking and or Alford failed to complete the credit limit requested in the

application—an option that Alford failed to exercise in attempting to limit his liability as the

personal guarantor. Nor does the Louisiana Civil Code articles on suretyship require a specific

amount secured to be stated in a suretyship agreement. As such, Alford is responsible for the

entire amount of the outstanding debts of Dual Trucking should Dual Trucking be unable to

fulfill its obligations or satisfy any judgment against it and in favor of Tractor in the Montana

state court action.


23
     Exhibit C
24
     Exhibit C

                                                   16
                                         CONCLUSION

       For the reasons stated herein, the Defendant’s Motion to Dismiss should be denied.

Tractor & Equipment Co. has satisfied the diversity of citizenship and amount in controversy to

invoke federal jurisdiction, and has prayed for declaratory relief in this action which contains

different claims and parties than the underlying Montana state Court Action.




                                                      Respectfully submitted;


                                                      ____s/ Christopher H. Riviere________
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                                      CERTIFICATE

       I hereby certify that on this 5th day of February, 2016, a copy of the above and foregoing

was filed electronically with the Clerk of Court/ECF System. Notice of this filing will be sent by

operation of the court’s electronic filing system.



                                                      /s/ Christopher H. Riviere




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